Case 2:05-cV-02095-.]DB-STA Document 19 Filed 06/09/05 Page 1 of 2 Page|D 32

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IN THE UNITED sTATES DISTRICT CoURT ‘ D-G.
FoR THE wESTERN DIsTRICT oF TENNESSEE 05 gun 9

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WILLIAM RAYINGRAM, rt n.z-,~ g T C.§J
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Piaimirr,
v. No. 05-2095-B/An

CITICROP CREDIT SERVICES, INC. (USA)
d/b/a GOODYEAR CREDIT PLAN and
BRYANT TIRE & APPLIANCE CENTER,
INC. d/b/a GOODYEAR,

Defendants.

 

ORDER OF REFERENCE

 

Before the court is Defendant Citibank USA, National Association’s Motion to Stay
Discovery Pending Court’s Ruling on Citibank’s Motion to Stay Proceedings in Favor of
Arbitration filed on June 7, 2005. This matter is hereby referred to the United States Magistrate
Judge for determination and/or report and recommendation Any objections to the magistrate
judge’s order and/or report and recommendation shall be made within ten (10) days after service
of the order and/or report, setting forth particularly those portions of the order and/or report
objected to and the reasons for the objections Failure to timely assign as error a defect in the
magistrate judge’s order and/or report will constitute a waiver of that objection _S£e Rule 72(a),

Federal Rules of Civil Procedure.

IT IS SO ORDERED this 8 da of June, 2005.

    

 

J. DANIEL BREEN
NIT D sTATEs DIsTRIcT JUDGE

Thie document entered on the docket sheet in c mpliance
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Notice of Distribution

This notice confirms a copy of the document docketed as number 19 in
case 2:05-CV-02095 Was distributed by faX, mail, or direct printing on
June 9, 2005 to the parties listed.

 

 

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Honorable J. Breen
US DISTRICT COURT

